Case 7:16-cv-00108-O Document 154 Filed 04/05/19   Page 1 of 18 PageID 4323


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            WICHITA FALLS DIVISION


FRANCISCAN ALLIANCE, INC., et al.,

                      Plaintiffs,

              v.                          No. 7:16-cv-00108

ALEX M. AZAR II, Secretary
of Health and Human Services, et al..,

                      Defendants.


                     DEFENDANTS’ MEMORANDUM
     IN RESPONSE TO PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT
  Case 7:16-cv-00108-O Document 154 Filed 04/05/19                                             Page 2 of 18 PageID 4324


                                                   TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1
BACKGROUND .............................................................................................................................2
I. Statutory And Regulatory Background ......................................................................................2
II. Procedural Background ..............................................................................................................3
ARGUMENT ...................................................................................................................................5
I. THE RULE’S DEFINITION OF SEX DISCRIMINATION IS CONTRARY TO LAW. .......6
     A. Section 1557’s Prohibition on Sex Discrimination Excludes Discrimination on the Basis of
        Gender Identity. ...................................................................................................................6
     B. Section 1557’s Prohibition on Sex Discrimination Includes Title IX’s Exemptions. .........9
II. THE COURT SHOULD NOT ADDRESS PLAINTIFFS’ REMAINING CLAIMS. ............11
III. THIS COURT SHOULD POSTPONE OR, AT A MINIMUM, LIMIT ANY RULING. ......11
CONCLUSION ..............................................................................................................................13
  Case 7:16-cv-00108-O Document 154 Filed 04/05/19                                             Page 3 of 18 PageID 4325


                                                TABLE OF AUTHORITIES

CASES                                                                                                                         PAGE(S)

Abbott Labs. v. Gardner,
  387 U.S. 136 (1967) .................................................................................................................. 12

California v. Azar,
  911 F.3d 558 (9th Cir. 2018) .................................................................................................... 11

Carder v. Cont’l Airlines, Inc.,
  636 F.3d 172 (5th Cir. 2011) ...................................................................................................... 8

Doe 2 v. Shanahan,
  917 F.3d 694 (D.C. Cir. 2019) .................................................................................................... 7

Franciscan All., Inc. v. Burwell,
  227 F. Supp. 3d 660 (N.D. Tex. 2016) .............................................................................. passim

Franklin v. Gwinnett Cty. Pub. Schs.,
  503 U.S. 60 (1992) ...................................................................................................................... 8

G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd.,
  822 F.3d 709 (4th Cir. 2016), vacated and remanded,
  137 S. Ct. 1239 (2017) ............................................................................................................ 6, 7

Gill v. Whitford,
  138 S. Ct. 1916 (2018) .............................................................................................................. 12

Hecht Co. v. Bowles,
  321 U.S. 321 (1944) .................................................................................................................. 12

Hively v. Ivy Tech Cmty. Coll. of Ind.,
  853 F.3d 339 (7th Cir. 2017) ...................................................................................................... 7

Jean v. Nelson,
  472 U.S. 846 (1985) .................................................................................................................. 11

Jespersen v. Harrah’s Operating Co.,
  444 F.3d 1104 (9th Cir. 2006) .................................................................................................... 8

Los Angeles Haven Hospice, Inc. v. Sebelius,
  638 F.3d 644 (9th Cir. 2011) .................................................................................................... 11

Meritor Sav. Bank, FSB v. Vinson,
 477 U.S. 57 (1986) ...................................................................................................................... 8

Olmstead v. L.C. ex rel. Zimring,
  527 U.S. 581 (1999) .................................................................................................................... 8
  Case 7:16-cv-00108-O Document 154 Filed 04/05/19                                               Page 4 of 18 PageID 4326


Oncale v. Sundowner Offshore Servs., Inc.,
  523 U.S. 75 (1998) .................................................................................................................. 7, 8

Price Waterhouse v. Hopkins,
  490 U.S. 228 (1989) .................................................................................................................... 8

Sandifer v. U.S. Steel Corp.,
  571 U.S. 220 (2014) .................................................................................................................... 6

Texas v. United States,
  352 F. Supp. 3d 665 (N.D. Tex. 2018) ..................................................................................... 10

Trump v. Hawaii,
  138 S. Ct. 2392 (2018) .............................................................................................................. 12

Va. Soc’y for Human Life, Inc. v. FEC,
  263 F.3d 379 (4th Cir. 2001) .................................................................................................... 11

Weinberger v. Romero-Barcelo,
 456 U.S. 305 (1982) .................................................................................................................. 12

Wittmer v. Phillips 66 Co.,
  915 F.3d 328 (5th Cir. 2019) ...................................................................................................... 8

Statutes

5 U.S.C. § 703 ............................................................................................................................... 12

5 U.S.C. § 706(2) .......................................................................................................................... 12

18 U.S.C. § 249(a)(2)(A) ................................................................................................................ 7

18 U.S.C. § 249(c)(4) ...................................................................................................................... 7

20 U.S.C. § 1681 ......................................................................................................................... 2, 9

20 U.S.C. § 1681(a) .................................................................................................................... 2, 6

20 U.S.C. § 1681(a)(3) ............................................................................................................ 2, 6, 9

20 U.S.C. § 1688 ..................................................................................................................... 3, 6, 9

29 U.S.C. § 794 ......................................................................................................................... 2, 10

34 U.S.C. § 12291(b)(13)(A) .......................................................................................................... 7

42 U.S.C. § 2000d ....................................................................................................................... 2, 9

42 U.S.C. § 6101 ......................................................................................................................... 2, 9
  Case 7:16-cv-00108-O Document 154 Filed 04/05/19                                               Page 5 of 18 PageID 4327


42 U.S.C. § 18116 ................................................................................................................. 1, 9, 10

42 U.S.C. § 18116(a) .................................................................................................................. 2, 6

42 U.S.C. § 18116(c) ...................................................................................................................... 3

Regulations

45 C.F.R. § 80.3(d) ....................................................................................................................... 10

45 C.F.R. § 92.101(c)................................................................................................................ 3, 10

45 C.F.R. § 92.2(c).......................................................................................................................... 4

45 C.F.R. § 92.4 .......................................................................................................................... 3, 7

81 Fed. Reg. 31,375 (May 18, 2016) .............................................................................................. 3

Other Authorities

Attorney General Memorandum, Revised Treatment of Transgender Employment Discrimination
  Claims Under Title VII of the Civil Rights Act (Oct. 4, 2017),
  https://www.justice.gov/ag/page/file/1006981/download .......................................................... 1

Webster’s New Int’l Ditionary 2296 (2d ed. 1958)......................................................................... 6
    Case 7:16-cv-00108-O Document 154 Filed 04/05/19              Page 6 of 18 PageID 4328


                                      INTRODUCTION 1

        Plaintiffs challenge a Rule issued by the Department of Health and Human Services (HHS)

in 2016 that, among other things, construes Section 1557 of the Patient Protection and Affordable

Care Act (ACA), 42 U.S.C. § 18116, to prohibit discrimination on the basis of gender identity and,

without incorporating statutory protections relating to religious conscience and abortion,

termination of pregnancy.      Plaintiffs contend that these aspects of the Rule violate the

Administrative Procedure Act (APA) and other statutory and constitutional provisions.

        Defendants agree with Plaintiffs and the Court that the Rule’s prohibitions on

discrimination on the basis of gender identity and termination of pregnancy conflict with Section

1557 and thus are substantively unlawful under the APA. Since the Rule was issued, the United

States has returned to its longstanding position that the term “sex” in Title VII does not refer to

gender identity, and there is no reason why Section 1557, which incorporates Title IX’s analogous

prohibition on “sex” discrimination, should be treated differently. 2     The Rule also fails to

incorporate Title IX’s exemptions despite Section 1557’s directive to the contrary, thereby

prohibiting conduct the statute permits. Plaintiffs thus are entitled to summary judgment on their

APA claim, and there is no need for this Court to resolve any other claim to provide them with the

relief they seek.




1
 In filing this response to Plaintiffs’ Motions for Summary Judgment, Defendants withdraw their
Motion for an Extension filed on April 4, 2019 (ECF No. 151).
2
   See Attorney General Memorandum, Revised Treatment of Transgender Employment
Discrimination Claims Under Title VII of the Civil Rights Act (Oct. 4, 2017), available at:
https://www.justice.gov/ag/page/file/1006981/download; Br. of Fed. Resp’t in Opp’n to Cert. at
16-23, R.G. & G.R. Harris Funeral Homes, Inc. v. EEOC, No. 18-107 (U.S. Oct. 24, 2018); Br. in
Supp. of Defs.’ Mot. to Dismiss at 2-6, U.S. Pastor Council v. EEOC, No. 4:18-cv-00824-O (N.D.
Tex. Dec. 17, 2018) (ECF 8).
 Case 7:16-cv-00108-O Document 154 Filed 04/05/19                  Page 7 of 18 PageID 4329


       Defendants nevertheless ask the Court to postpone ruling on Plaintiffs’ summary judgment

motions to allow Defendants to complete their ongoing efforts to amend the Rule. Defendants

expect to be able to publish a proposed rule soon, which, if finalized, may moot this case. The

Court should avoid issuing a decision that will likely be overtaken by events, particularly as any

delay will not harm Plaintiffs given that the Rule’s challenged prohibitions have already been

preliminarily enjoined nationwide, and Defendants are conscientiously complying with that

injunction. If the Court decides the pending motions, however, it should limit any relief to

redressing the injuries of the named Plaintiffs.

                                          BACKGROUND

I. Statutory And Regulatory Background

       Section 1557 incorporates four federal anti-discrimination laws into the ACA: Title VI,

Title IX, the Age Discrimination Act of 1975, and Section 504 of the Rehabilitation Act.

Specifically, Section 1557 directs that

       [e]xcept as otherwise provided for in this title (or an amendment made by this title),
       an individual shall not, on the ground prohibited under title VI of the Civil Rights
       Act of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education Amendments of
       1972 (20 U.S.C. 1681 et seq.), the Age Discrimination Act of 1975 (42 U.S.C. 6101
       et seq.), or section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794), be
       excluded from participation in, be denied the benefits of, or be subjected to
       discrimination under, any health program or activity, any part of which is receiving
       Federal financial assistance, including credits, subsidies, or contracts of insurance,
       or under any program or activity that is administered by an Executive Agency or
       any entity established under [Title I of the ACA] (or amendments). The
       enforcement mechanisms provided for and available under such title VI, title IX,
       section 504, or such Age Discrimination Act shall apply for purposes of violations
       of this subsection.

42 U.S.C. § 18116(a).

       Title IX in turn provides that “[n]o person . . . shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any education

program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a) (emphasis added).

                                                     2
 Case 7:16-cv-00108-O Document 154 Filed 04/05/19                    Page 8 of 18 PageID 4330


Title IX’s prohibition on sex discrimination is limited by various exemptions and rules of

construction, two of which are relevant here. First, it does “not apply to an educational institution

which is controlled by a religious organization if the application of [the provision] would not be

consistent with the religious tenets of such organization.” Id. § 1681(a)(3). Second, it shall not be

“construed to require or prohibit any person, or public or private entity, to provide or pay for any

benefit or service, including the use of facilities, related to an abortion.” Id. § 1688.

       Acting under its statutory authority to “promulgate regulations to implement” Section

1557, 42 U.S.C. § 18116(c), HHS issued the challenged Rule in May 2016. See Nondiscrimination

in Health Programs and Activities, 81 Fed. Reg. 31,375 (May 18, 2016) (codified at 45 C.F.R.

§ 92.4). As relevant here, the Rule construes Section 1557’s prohibition on sex discrimination to

“include[] . . . discrimination on the basis of pregnancy, false pregnancy, termination of pregnancy,

or recovery therefrom, childbirth or related medical conditions, sex stereotyping, and gender

identity.” 45 C.F.R. § 92.4. The Rule in turn defines “gender identity” as “an individual’s internal

sense of gender, which may be male, female, neither, or a combination of male and female, and

which may be different from an individual’s sex assigned at birth.” Id. Although the Rule

incorporates the various exemptions under Title VI, the Age Act, and Section 504, 45 C.F.R.

§ 92.101(c), it does not incorporate Title IX’s exemptions, or rules of construction, including those

addressing religion and abortion, see 81 Fed. Reg. at 31,379-80, 31,388.

II. Procedural Background

       Plaintiffs, several private healthcare providers and a coalition of states, challenged the Rule

and sought partial summary judgment or, in the alternative, a preliminary injunction.             On

December 31, 2016, the Court issued a nationwide preliminary injunction barring HHS from

enforcing the Rule’s prohibitions on discrimination on the basis of gender identity and termination

of pregnancy. Franciscan All., Inc. v. Burwell, 227 F. Supp. 3d 660, 696 (N.D. Tex. 2016). The
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    Case 7:16-cv-00108-O Document 154 Filed 04/05/19                  Page 9 of 18 PageID 4331


Court held that the challenged prohibitions were substantively unlawful under the APA because

“the meaning of sex in Title IX unambiguously refers to the biological and anatomical differences

between male and female students as determined at their birth,” id. at 687, and by “not including”

Title IX’s religious and abortion exemptions, the Rule “expanded the ‘ground prohibited under’

Title IX that Section 1557 explicitly incorporated,” id. at 691. The Court also concluded that the

Private Plaintiffs were likely to succeed on the merits of their claim under the Religious Freedom

Restoration Act (RFRA) because the Rule could be read to require them to perform gender-

transition surgeries or abortions in violation of their sincere religious beliefs. Id. at 691-93. 3

        Defendants did not appeal the preliminary injunction. In March 2017, Plaintiffs moved for

summary judgment. In response, Defendants sought a stay of the litigation and a voluntary remand

to HHS to reconsider the reasonableness, necessity, and efficacy of the Rule. ECF No. 92. The

Court granted a stay and required Defendants to file a status report every 60 days providing updates

on the reconsideration of the Rule. ECF No. 105. As Defendants explained in their most recent

status report on December 14, 2018, HHS continues to work on a new rule to replace the Rule

challenged here, ECF No. 124, and Defendants expect to be able to publish a proposed rule soon.

        In December 2018, the parties filed a motion to lift the stay, which the Court granted. ECF

Nos. 125, 126. Plaintiffs then renewed their motions for summary judgment. ECF Nos. 132, 135.

The State Plaintiffs seek summary judgment under (1) the APA, (2) Title VII, (3) the Spending

Clause, (4) the Tenth Amendment, and (5) the Eleventh Amendment. The Private Plaintiffs seek

summary judgment under (1) the APA, (2) RFRA, and (3) the Free Exercise Clause. Plaintiffs




3
  A district court in North Dakota subsequently entered a preliminary injunction against the Rule
limited to the plaintiffs before it. North Dakota v. Burwell, No. 3:16-cv-386 (D.N.D. Jan. 23,
2017); Catholic Benefits Ass’n v. Burwell, No. 3:16-cv-432 (D.N.D. Injunction Orders of January
23, 2017). HHS remains subject to this injunction, and that litigation is currently stayed.
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    Case 7:16-cv-00108-O Document 154 Filed 04/05/19              Page 10 of 18 PageID 4332


challenge only the Rule’s prohibition of discrimination on the basis of gender identity and

termination of pregnancy, and the Rule contains a severability provision, 45 C.F.R. § 92.2(c).

                                          ARGUMENT

         This Court has already ruled, as a matter of law, that the Rule’s prohibitions of

discrimination on the basis of gender identity and, without the accompanying statutory protections,

termination of pregnancy are substantively unlawful under the APA. Defendants agree. The

ordinary meaning of “sex” within Title IX does not encompass gender identity, and by failing to

incorporate Title IX’s exemptions, the Rule prohibits conduct that Title IX and, thus, Section 1557

permits. Plaintiffs, therefore, are entitled to summary judgment on their substantive APA claim

(as the government recognizes that this Court ruled that it has jurisdiction for purposes of its

preliminary-injunction order and nothing has changed that would call that holding into question).

Because resolution of this claim is sufficient to afford Plaintiffs the relief they seek, the Court

should not address the remaining statutory or constitutional claims. 4

         Defendants nevertheless respectfully request that the Court postpone ruling on Plaintiffs’

motions for summary judgment. HHS currently is engaged in efforts to amend the challenged

Rule, which may moot the case. In the meantime, the challenged portions of the Rule remain

enjoined nationwide by this Court’s preliminary injunction. Accordingly, the Court should refrain

from deciding the instant motions until HHS has had time to publish a new rule for public notice




4
  Of course, Plaintiffs must establish jurisdiction to obtain summary judgment. Defendants
acknowledge, but respectfully disagree with, the Court’s earlier ruling that it has jurisdiction and
incorporate their arguments on this question by reference. See Franciscan All., 227 F. Supp. 3d at
678–84; ECF No. 50, at 22-32. This brief, however, accepts that this Court ruled that it had
jurisdiction for purposes of its preliminary-injunction order and nothing has changed that would
call that holding into question.
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Case 7:16-cv-00108-O Document 154 Filed 04/05/19                  Page 11 of 18 PageID 4333


and comment. If the Court nonetheless rules on the pending motions, it should limit any relief to

redressing any cognizable injuries of the named Plaintiffs.

I. THE RULE’S DEFINITION OF SEX DISCRIMINATION IS CONTRARY TO LAW.

       Defendants agree with Plaintiffs and the Court that the Rule’s definition of sex

discrimination contravenes Section 1557 in at least two respects. Section 1557’s prohibition on

sex discrimination (1) unambiguously excludes discrimination on the basis of gender identity and

(2) unambiguously includes Title IX’s exemptions, including those addressing religion and

abortion, 20 U.S.C. §§ 1681(a)(3), 1688. Because the Rule’s definition of sex discrimination

departs from Section 1557 in both respects, it is substantively unlawful under the APA.

   A. Section 1557’s Prohibition on Sex Discrimination Excludes Discrimination on the
      Basis of Gender Identity.

       Section 1557 provides that “an individual shall not, on the ground prohibited under … title

IX of the Education Amendments of 1972 . . . be excluded from participation in, be denied the

benefits of, or be subjected to discrimination under, any health program or activity, any part of

which is receiving Federal financial assistance.” 42 U.S.C. § 18116(a). Title IX in turn prohibits

discrimination “on the basis of sex.” 20 U.S.C. § 1681(a). Title IX does not define the term “sex,”

so the term should “be interpreted as taking [its] ordinary, contemporary, common meaning.”

Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227 (2014). When Title IX was enacted in 1972, “sex”

meant biological sex; it “refer[red] to [the] physiological distinction[ ]” between “male and

female.” Webster’s New Int’l Dictionary 2296 (2d ed. 1958); see id. (“One of the two divisions

of organisms formed on the distinction of male and female; males or females collectively”; “The

sum of the peculiarities of structure and function that distinguish a male from a female organism”;

the character of being male or female, or of pertaining to the distinctive function of the male or

female in reproduction”; “SEX refers to physiological distinctions;    GENDER,   to distinctions in


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    Case 7:16-cv-00108-O Document 154 Filed 04/05/19               Page 12 of 18 PageID 4334


grammar”); see also G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 736-37 (4th

Cir. 2016) (Niemeyer, J., dissenting) (collecting dictionaries), vacated and remanded, 137 S. Ct.

1239 (2017); Franciscan All., 227 F. Supp. 3d at 688 n.24 (same). 5

         Title IX therefore does not apply to discrimination on the basis of “gender identity,” which

the Rule defines as one’s “an individual’s internal sense of gender, which may be male, female,

neither, or a combination of male and female, and which may be different from an individual’s sex

assigned at birth.” 45 C.F.R. § 92.4. Congress has prohibited discrimination based on “gender

identity” in other statutes, as a separate protected category in addition to “sex” or “gender.” See,

e.g., 18 U.S.C. § 249(a)(2)(A) & (c)(4) (Matthew Sheperd and James Byrd, Jr. Hate Crimes

Prevention Act) (prohibiting acts or attempts to cause bodily injury to any person “because of the

actual or perceived religion, national origin, gender, sexual orientation, gender identity, or

disability of any person,” and defining “gender identity” as “actual or perceived gender-related

characteristics” (emphasis added)); 34 U.S.C. § 12291(b)(13)(A) (Violence Against Women Act)

(prohibiting discrimination in certain federally funded programs “on the basis of actual or

perceived race, color, religion, national origin, sex, gender identity (as defined in [18 U.S.C.

§ 249(c)(4)]), sexual orientation, or disability” (emphases added)). Congress has not included

similar language in Title IX as originally enacted in 1972 or in any amendment in the 47 years

since. And Congress chose to incorporate, into Section 1557, the prohibition on the basis

prohibited under Title IX, but not on the bases prohibited under the Matthew Sheperd and James

Byrd, Jr. Hate Crimes Prevention Act or the Violence Against Women Act.



5
  The ordinary meaning of “sex” was the same when the ACA was enacted in 2010. Franciscan
All., 227 F. Supp. 3d at 688-89 & n.26; see also Hively v. Ivy Tech Cmty. Coll. of Ind., 853 F.3d
339, 363 (7th Cir. 2017) (en banc) (Sykes, J., dissenting) (collecting contemporary dictionaries);
Doe 2 v. Shanahan, 917 F.3d 694, 725 & n.6 (D.C. Cir. 2019) (Williams, J., concurring in the
result) (addressing similar question with respect to laws enacted in 1998).
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Case 7:16-cv-00108-O Document 154 Filed 04/05/19                   Page 13 of 18 PageID 4335


       In addition, the Supreme Court has explained that Title VII’s analogous prohibition “is

directed only at ‘discrimination because of sex.’” Oncale v. Sundowner Offshore Servs., Inc., 523

U.S. 75, 80 (1998) (brackets and ellipses omitted). “The critical issue” in determining whether an

employer has engaged in discrimination, as “Title VII’s text indicates, is whether members of one

sex are exposed to disadvantageous terms or conditions of employment to which members of the

other sex are not exposed.” Id. (citation omitted). To be sure, the plurality opinion in Price

Waterhouse v. Hopkins, 490 U.S. 228 (1989), concluded that, “in forbidding employers to

discriminate against individuals because of their sex, Congress intended to strike at the entire

spectrum of disparate treatment of men and women resulting from sex stereotypes.” Id. at 251

(brackets and citation omitted). Thus, under that principle, an employer that treats a male or female

employee disadvantageously based on a “sex stereotype[]” may violate Title VII, and evidence

that an employer engaged in “sex stereotyping” may indicate that sex “played a motivating part in

an employment decision.” Id. at 250-51. But the statute is not properly construed to proscribe

employment practices that take account of the sex of employees but do not impose different

burdens on similarly situated members of each sex—such as sex-specific dress codes, cf., e.g.,

Jespersen v. Harrah’s Operating Co., 444 F.3d 1104, 1109-10 (9th Cir. 2006) (en banc), or sex-

specific restrooms.

       There is no reason why Title IX’s prohibition on sex discrimination should sweep more

broadly than its Title VII counterpart. Both the Supreme Court and the Fifth Circuit have looked

to Title VII precedents in construing Title IX’s prohibition, and there is no basis for taking a

different approach here. See, e.g., Franklin v. Gwinnett Cty. Pub. Schs., 503 U.S. 60, 75 (1992)

(relying on Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 64 (1986), in addressing Title IX

sexual-harassment claims); Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 616-17 & n.1 (1999)



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Case 7:16-cv-00108-O Document 154 Filed 04/05/19                    Page 14 of 18 PageID 4336


(Thomas, J., dissenting) (“This Court has also looked to its Title VII interpretations of

discrimination in illuminating Title IX”); Carder v. Cont’l Airlines, Inc., 636 F.3d 172, 180 (5th

Cir. 2011) (“[T]his court has interpreted Title IX as being intended to prohibit a wide spectrum of

discrimination against women in the same manner as Title VII.”); see also Wittmer v. Phillips 66

Co., 915 F.3d 328, 337-38 (5th Cir. 2019) (Ho, J., concurring) (“[B]ecause federal statutes

governing educational institutions employ language indistinguishable from Title VII, th[e] debate

[over whether sex discrimination under Title VII includes gender-identity discrimination] “affects

virtually every school, college, dormitory, athletic activity, and locker room in America.”).

       In short, the relevant provisions of Title IX and Section 1557 unambiguously exclude

gender-identity discrimination.      The Rule’s definition of sex discrimination to include

discrimination on the basis of gender identity cannot stand under the APA.

   B. Section 1557’s Prohibition on Sex Discrimination Includes Title IX’s Exemptions.

       Section 1557’s prohibition on sex discrimination is also limited by Title IX’s exemptions,

including its religious exemption—which provides that Title IX’s prohibition on sex

discrimination “shall not apply to an educational institution which is controlled by a religious

organization if the application of this subsection would not be consistent with the religious tenets

of such organization,” 20 U.S.C. § 1681(a)(3)—and the abortion rule of construction—which

provides that Title IX shall not “be construed to require or prohibit any person, or public or private

entity, to provide or pay for any benefit or service, including the use of facilities, related to an

abortion,” id. § 1688. Notably, Section 1557 forbids discrimination “on the ground prohibited

under . . . title IX of the Education Amendments of 1972 (20 U.S.C. 1681 et seq.).” 42 U.S.C.

§ 18116 (emphasis added). As this Court explained, Congress’s decision to “include[] the signal




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    Case 7:16-cv-00108-O Document 154 Filed 04/05/19               Page 15 of 18 PageID 4337


‘et seq.’ … after the citation to Title IX can only mean Congress intended to incorporate the entire

statutory structure, including [Title IX’s] exemptions.” Franciscan All., 227 F. Supp. 3d at 690.

         In confirmation of this fact, Section 1557 also prohibits discrimination on “the ground

prohibited under title VI of the Civil Rights Act of 1964 (42 U.S.C. 2000d et seq.), … the Age

Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or section 504 of the Rehabilitation Act of

1973 (29 U.S.C. 794),” 42 U.S.C. § 18116 (emphases added), and the Rule explicitly confirms that

those statutes’ exemptions apply, see 45 C.F.R. § 92.101(c) (“The exceptions applicable to Title

VI apply to discrimination on the basis of race, color, or national origin under this part. The

exceptions applicable to Section 504 apply to discrimination on the basis of disability under this

part. The exceptions applicable to the Age Act apply to discrimination on the basis of age under

this part.”). Thus, Section 1557’s prohibition on racial discrimination, for instance, does not

extend to “exclusion from benefits limited by Federal law to individuals of a particular race.” 45

C.F.R. § 80.3(d) (titled “Indian Health and Cuban Refugee Services”). Nothing in Section 1557

justifies singling out Title IX’s exemptions and rules of construction for disfavored treatment. Just

as Section 1557’s prohibitions on racial, disability, and age discrimination are limited by the

exemptions in those anti-discrimination laws, so its prohibition on sex discrimination is limited by

the exemptions in Title IX, including those dealing with religion and abortion. And those statutory

provisions are particularly critical to understanding the scope of any prohibition on discrimination

on the basis of termination of pregnancy. The Rule’s failure to incorporate these provisions in its

definition of sex discrimination is therefore contrary to law. 6



6
   This Court has ruled in another case that the individual mandate is both unconstitutional and
inseverable from the remainder of the ACA (and has stayed that decision pending appeal). See
Texas v. United States, 352 F. Supp. 3d 665 (N.D. Tex. 2018). Plaintiffs in this case have not
pressed that theory for challenging the Rule, and thus, for purposes of this case, the Court should


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    Case 7:16-cv-00108-O Document 154 Filed 04/05/19                 Page 16 of 18 PageID 4338


II. THE COURT SHOULD NOT ADDRESS PLAINTIFFS’ REMAINING CLAIMS.

         Because resolution of Plaintiffs’ APA claim is sufficient to afford Plaintiffs the relief they

seek, the Court need not—and should not—address Plaintiffs’ remaining statutory and

constitutional claims. As this Court recognized at the preliminary-injunction stage, “[b]oth parties

agree that if the Court resolves the APA or RFRA claim, there is no need to reach the remaining

constitutional issues.” Franciscan All., 227 F. Supp. 3d at 691 n.32. That consensus reflects the

longstanding principle that “‘[p]rior to reaching any constitutional questions, federal courts must

consider nonconstitutional grounds for decision.’” Jean v. Nelson, 472 U.S. 846, 854 (1985). And

because resolution of the substantive APA claim will provide complete relief to all Plaintiffs, there

is no need to resolve the Private Plaintiffs’ RFRA claim or the State Plaintiffs’ Title VII claim.

III. THIS COURT SHOULD POSTPONE OR, AT A MINIMUM, LIMIT ANY RULING.

         Although Defendants agree with Plaintiffs that the Rule’s definition of sex discrimination

cannot stand under the APA, the Court should postpone ruling on Plaintiffs’ summary judgment

motions. Defendants expect to be able to publish a proposed rule soon, which, if finalized, may

moot this case. The Court should avoid issuing a decision that will likely be overtaken by events,

especially as any delay in ruling will not harm Plaintiffs given that the preliminary nationwide

injunction against the Rule’s challenged prohibition remains in place and Defendants are

conscientiously complying with the injunction. 7




simply rule that the Rule’s challenged prohibition is contrary to the terms of Section 1557 of the
ACA, the statutory provision under which the Rule was promulgated.
7
  Defendants previously agreed that the stay in this case could be lifted because they did not know
how long it would take to “reevaluat[e] the reasonableness, necessity, and efficacy of the Rule.”
ECF No. 125. But Defendants now expect a new proposed rule to be issued soon, and thus, the
reason for lifting the stay and briefing summary judgment has disappeared.
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Case 7:16-cv-00108-O Document 154 Filed 04/05/19                    Page 17 of 18 PageID 4339


       If this Court does rule in Plaintiffs’ favor, however, any relief should be limited in scope

to redressing any cognizable injuries of the Plaintiffs before the Court. Although Defendants

acknowledge that the Court’s preliminary injunction was nationwide in scope, see Franciscan All.,

227 F. Supp. 3d at 695, Defendants continue to maintain that nationwide injunctions that go

beyond redressing any cognizable injuries of Plaintiffs are inappropriate under both Article III and

equitable principles. See ECF 50, at 49-50; see also Gill v. Whitford, 138 S. Ct. 1916, 1934 (2018)

(“A plaintiff’s remedy must be tailored to redress the plaintiff's particular injury.”).

       The fact that this case involves the APA makes no difference, as the APA does not compel

courts to abandon established equitable principles, including those governing nationwide relief.

See, e.g., California v. Azar, 911 F.3d 558, 582-85 (9th Cir. 2018) (vacating district court’s grant

of nationwide injunction in APA case); Los Angeles Haven Hospice, Inc. v. Sebelius, 638 F.3d

644, 664-65 (9th Cir. 2011) (same); Va. Soc’y for Human Life, Inc. v. FEC, 263 F.3d 379, 393 (4th

Cir. 2001) (same), overruled on other grounds by Real Truth about Abortion v. FEC, 681 F.3d 544

(4th Cir. 2012). A court “do[es] not lightly assume that Congress has intended to depart from

established principles” regarding equitable discretion, Weinberger v. Romero-Barcelo, 456 U.S.

305, 313 (1982), and the APA’s general instruction that unlawful agency action “shall” be “set

aside,” 5 U.S.C. § 706(2), is insufficient to mandate such a departure. Indeed, the Supreme Court

held that not even a provision directing that an injunction “shall be granted” with respect to a

threatened or completed violation of a particular statute was sufficient to displace traditional

principles of equitable discretion, Hecht Co. v. Bowles, 321 U.S. 321, 328-30 (1944), and Congress

is presumed to have been aware of that holding when it enacted the APA’s “shall” be “set aside”

language two years later. In fact, the APA expressly confirms that, absent a special review statute,

“[t]he form of proceeding for judicial review” is simply the traditional “form[s] of legal action,



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Case 7:16-cv-00108-O Document 154 Filed 04/05/19                      Page 18 of 18 PageID 4340


including actions for declaratory judgments or writs of prohibitory or mandatory injunction,”

5 U.S.C. § 703, and that the statutory right of review does not affect “the power or duty of the

court to . . . deny relief on any . . . appropriate legal or equitable ground,” id. § 702(1). The Supreme

Court therefore has confirmed that, even in an APA case, “equitable defenses may be interposed.”

Abbott Labs. v. Gardner, 387 U.S. 136, 155 (1967). Accordingly, the Court should construe the

“set aside” language in Section 706(2) as applying only to the named Plaintiffs, especially as no

federal court had issued a nationwide injunction before Congress’s enactment of the APA in 1946,

nor would do so for more than fifteen years thereafter, see Trump v. Hawaii, 138 S. Ct. 2392, 2426

(2018) (Thomas, J., concurring).

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court postpone ruling

on Plaintiffs’ motions for summary judgment. If the Court decides those motions, it should limit

any relief to redressing any cognizable injuries of the named Plaintiffs.


Dated: April 5, 2019                                   JOSEPH H. HUNT
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